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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA


MINNESOTA CHAMBER OF COMMERCE,
                         Plaintiff,

                v.
                                                          Case No. 23-cv-02015 (ECT/JFD)
JOHN CHOI, et al.,
                         Defendants.



          MOTION FOR LEAVE TO FILE BRIEF AMICUS CURIAE FOR
          CAMPAIGN LEGAL CENTER IN SUPPORT OF DEFENDANTS
   AND IN OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Campaign Legal Center (“CLC”) respectfully moves for leave to file an amicus curiae brief

in support of defendants and in opposition to plaintiff’s motion for summary judgment in the

above-captioned case. Counsel for state defendants has consented to CLC’s amicus participation;

counsel for plaintiff Minnesota Chamber of Commerce does not consent.

       In support of this motion, CLC states the following:

       1.       CLC is a nonpartisan nonprofit organization working for a more transparent,

inclusive, and accountable democracy at all levels of government. CLC’s work includes

representing the public perspective in legal proceedings interpreting and enforcing campaign

finance,     lobbying,     ethics,     and   election   laws    throughout     the    nation.   See

https://campaignlegal.org/about.

       2.       CLC believes its proposed amicus brief will benefit the Court by providing unique

arguments to rebut plaintiff’s First Amendment challenge to Minnesota’s Democracy for the

People Act (the “Act”), Minn. Stat. § 211B.15, subd. 4a-4b, including an overview of spending by

foreign-influenced corporations to influence recent elections at the state and local level.
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       3.      CLC previously submitted an amicus brief in the preliminary injunction

proceedings in this case that addressed plaintiff’s claim that the Federal Election Campaign Act

(“FECA”) preempted the Act in its entirety. See CLC Amicus Br., Dec. 5, 2023, ECF No. 98. CLC

references this earlier memorandum in its proposed brief but otherwise does not repeat the

preemption arguments contained therein.

       4.      CLC believes its proposed brief will be timely. This Court directed any “non-party

wishing to serve as amicus curia” to “appear and file a motion seeking leave” by August 2, 2024.

Order, ECF No. 118 (emphasis added). If CLC, after appearing and filing as an amicus in these

proceedings on December 4, 2023, is deemed a “non-party,” counsel regrets that their confusion

on this matter has resulted in this motion postdating August 2 by several days. CLC notes however

that its proposed brief will be timely because it will be filed within seven days of August 9, the

date defendants’ summary judgment brief is due, and in any event, on or before August 16, as

stipulated by plaintiff and defendants, ECF No. 116.

                              *                        *                    *

       5.      Since its founding, CLC has maintained a far-reaching litigation practice to defend

state and federal campaign finance, lobbying, and political disclosure laws. It has participated in

virtually every U.S. Supreme Court case addressing a state or federal campaign finance issue,

including McConnell v. FEC, 540 U.S. 93 (2003), and Citizens United v. FEC, 558 U.S. 310

(2010). It also has participated as an amicus curiae in Minnesota campaign finance cases, including

the instant case, as well as in Minnesota Citizens Concerned For Life v. Swanson, 692 F.3d 864

(8th Cir. 2012) (en banc), a challenge to the state’s disclosure requirements and corporate

contribution restriction.

       6.      CLC also has experience litigating the constitutionality of restrictions on foreign

money in federal, state and local elections. For example, CLC is representing the ballot measure


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committee Protect Maine Elections as amicus curiae in an ongoing case challenging the

constitutionality of a Maine initiative barring foreign influence in Maine elections, now codified

at 21-A Me. Rev. Stat. § 1064. See Central Maine Power Company, et al. v. Maine Comm’n on

Gov’t Ethics and Election Practices, et al., No. 24-1265 (1st Cir.).

        7.      CLC has also regularly participated in proceedings before state legislatures and

agencies relating to the regulation of foreign money in state elections. For instance, in the last two

years, CLC submitted public testimony or comments in Oklahoma, Maine, Hawaii, and the City

of Portland, Maine with respect to their consideration of measures to address foreign spending in

their state or municipal elections.

        8.      As a nonpartisan subject-matter expert in federal and state campaign finance law,

as well as First Amendment case law concerning campaign finance issues, CLC has a demonstrated

interest in this case.

        9.      CLC believes its proposed amicus brief will benefit the Court by providing an

analysis of plaintiff’s First Amendment claims that augment the arguments offered by the parties.

Specifically, CLC discusses the proper standard of scrutiny appliable to laws restricting both

foreign contributions and expenditures, an issue which has not been comprehensively briefed thus

far; and conducts a thorough analysis of how the Supreme Court has reviewed a range of campaign

finance laws for narrow tailoring.

        10.     CLC also has a unique understanding of the nationwide implications of the claims

made by the Chamber; the proposed brief reviews the experiences of other jurisdictions with

foreign spending in state or local elections, as well as analogous legislation at the federal, state,

and local level to check foreign campaign contributions and expenditures.




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       11.     CLC thus has expertise in and a unique perspective regarding the issues raised in

this litigation, and respectfully requests that the Court grant CLC’s motion for leave to file its

amicus curiae brief. CLC’s proposed brief is less than 6,000 words.

       12.     The proposed brief will be timely because CLC intends to file it on or before August

16, 2024—within seven days of the date that defendants’ opening brief is due—and consistent with

dates set forth for amicus briefs in the Stipulation filed by the Parties, see ECF No. 116, and this

Court’s previous orders, see ECF No. 127, ECF No. 140.

       13.     CLC affirms that no party’s counsel authored the proposed brief in whole or in part,

and no person – other than the amicus – contributed money that was intended to fund the brief.

       For the foregoing reasons, CLC respectfully requests that the Court grant its request to file

a second amicus brief in support of defendants and in opposition to plaintiff’s motion for summary

judgment. CLC does not request the opportunity to participate in oral argument.

Dated: August 7, 2024                                Respectfully submitted,
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                                   CERTIFICATE OF SERVICE
        I hereby certify that on August 7, 2024, I electronically filed a copy of the foregoing motion

for leave to file Brief of Amicus Curiae using the CM/ECF system, which will send notification of

this filing to all counsel of record.

Dated: August 7, 2024
                                                              /s/ Amy Erickson
                                                              Amy Erickson




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